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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     July 10, 2023

BY ECF
The Honorable Jennifer H. Rearden
United States District Judge
500 Pearl Street
Southern District of New York
New York, New York 10007

       Re:     United States v. Charles McGonigal and Sergey Shestakov, 23 Cr. 16 (JHR)

Dear Judge Rearden:

       The Government writes to provide a status update, per the Court’s instructions at the May
10, 2023 status conference in the above-referenced case. First, on June 27, 2023, the Government
made a small discovery production of material it recently received. Second, before the July 18,
2023 status conference, the Government anticipates filing a response to the letter filed by Charles
McGonigal on June 23, 2023.


                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                              By:     /s/
                                                     Rebecca T. Dell
                                                     Hagan Scotten
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Cc:    Defense Counsel (by ECF)
